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                                                                                  2023 Oct-20 PM 01:05
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         WESTERN DIVISION

DECARLA RAIETTA HEARD,
as Personal Representative of
the Estate of JAMEA JONAE
HARRIS, JAMEA JONAE HARRIS
by and through her Estate,

      Plaintiff,                              Civil Action No.

v.

DARIUS MILES, an individual;
MICHAEL DAVIS, an individual;
BRANDON MILLER, an individual,

     Defendants.
__________________________________________________________________

                           COMPLAINT
__________________________________________________________________
      COMES NOW the Plaintiff, Decarla Raietta Heard, as Personal

Representative of the Estate of Jamea Jonae Harris, by and through undersigned

counsel and alleges as follows:

                                  I.    PARTIES

      1.     Plaintiff, Jamea Jonae Harris (hereinafter “Harris”), is the daughter of

Decarla Raietta Heard. Ms. Heard brings this action in her capacity as Personal

Representative of the Estate of Jamea Jonae Harris. The Plaintiff is an adult resident

of the State of Alabama.


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      2.     Upon information and belief, Defendant, Darius Miles (hereinafter

“Miles”), is over the age of nineteen (19) and a resident of the federal district of

Washington D.C.

      3.     Upon information and belief, Defendant, Michael Davis (hereinafter

“Davis”), is over the age of nineteen (19) and a resident of the State of Maryland.

      4.     Upon information and belief, Defendant, Brandon Miller (hereinafter

“Miller”), is over the age of nineteen (19) and a resident of the State of Tennessee.

                       II.   JURISDICTION AND VENUE

      5.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1332(a)(1),

because the Plaintiff and Defendants are citizens of different states, and the amount

in controversy exceeds $75,000.00, excluding interests and costs. The Plaintiff is a

citizen of the State of Alabama, Defendant Miles is a citizen of the federal district of

Washington, D.C., Defendant Davis is a citizen of the State of Maryland, and

Defendant Miller is a citizen of the State of Tennessee.

      6.     Venue is proper in this Court as a substantial part of the events, acts or

omissions giving rise to the claim occurred within this district.

                                    III.   FACTS

      7.     Around midnight on January 14, 2023, Defendant Miles, Defendant

Miller, Defendant Davis and former Alabama basketball player, Jaden Bradley, went

to “The Strip”, a several block-area of bars and night clubs in downtown Tuscaloosa,


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Alabama. Defendant Miles, Defendant Davis and Bradley went into Twelve25

Sports Bar, located at 1225 University Blvd. in Tuscaloosa, Alabama. Defendant

Miller did not go into Twelve25 Sports Bar, because the line was too long. Defendant

Miles was carrying a firearm and left it in Defendant Miller’s vehicle, where it

remained until later in the evening.

      8.     On the evening of January 14, 2023, Plaintiff Harris and her boyfriend,

Cedric Johnson, were visiting Plaintiff Harris’ cousin, Asia Humphrey, who was

attending the University of Alabama. The group had also gone to “The Strip” and

had stopped for food at the Quick Grille on University Blvd. in Tuscaloosa, Alabama.

They were waiting for their food in Plaintiff Harris’ black four-door Jeep Wrangler

at the stop sign at the end of Grace Street and University Blvd.

      9.     While inside Twelve25 Sports Bar, Defendant Miles texted Defendant

Miller “how long u goin be.” Around 1:35 a.m., Defendant Miles left Twelve25

Sports bar and crossed University Blvd. towards Grace Street. Bradley and

Defendant Davis were a few steps behind Defendant Miles. Defendant Miles walked

past Plaintiff Harris’ Jeep, but Defendant Davis did not. He stopped at the front left

side of Harris’ Jeep and danced for a few seconds, attempting to get Plaintiff Harris

and Humphrey’s attention. Then Defendant Davis approached the back left window

where Johnson was seated. Eventually, Johnson rolled down his window and told




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Defendant Miles and Defendant Davis to leave. The exchange has been described as

“elevated” by police.

      10.   Around 1:37 a.m., Defendant Davis and Bradley backed away from

Plaintiff Harris’ Jeep, and walked down Grace Street away from University Blvd.

Soon after, Defendant Miles followed Defendant Davis and Bradley down Grace

Street. Around 1:38 a.m., Defendant Miles texted Defendant Miller asking for his

“joint,” indicating he wanted his firearm because someone was “fakin’,” meaning

using words in an aggressive manner with no intention or ability to back them up.

At the time of the text message, Defendant Miller was in sole possession of

Defendant Miles’ firearm.

      11.   Defendant Miller arrived on Grace Street around 1:43 a.m. His vehicle

and Bradley’s vehicle blocked the road where Plaintiff Harris’ vehicle was parked.

Defendant Miles and Defendant Davis approached Defendant Miller’s car around

1:45 a.m. While Defendant Miller was in the vehicle, Defendant Miles told

Defendant Davis the firearm was in Defendant Miller’s back seat, and that there was

a round in the chamber. Defendant Miles and Defendant Davis retrieved the firearm

from Defendant Miller’s vehicle. Defendant Miller was in his vehicle at the time

Defendant Miles and Defendant Davis retrieved the firearm. Then, Defendant Miles

handed Defendant Davis the firearm.




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      12.    Defendant Davis approached the driver’s side of Plaintiff Harris’

vehicle and began firing shots. Plaintiff Harris’ boyfriend Johnson returned fire.

According to police, at least eight (8) shots were fired.

      13.    Plaintiff Harris was struck in the left side of her face by one of the

rounds discharged by the firearm retrieved from Defendant Miller’s vehicle by

Defendant Miles and Defendant Davis. She was pronounced dead at the scene. She

was twenty-three years old and a mother to a five-year-old son.

      14.    On or about March 10, 2023, Defendant Miles and Defendant Davis

were indicted on capital murder charges for the death of Jamea Jonea Harris.

                           IV.    CAUSES OF ACTION

                                COUNT I
             Negligence/Wantonness/Alabama Wrongful Death Act

      15.    Plaintiff adopts and alleges each and every paragraph as is fully set out

herein.

      16.    Plaintiff avers that each of the Defendants is guilty of negligent or

wanton conduct in that each of the Defendants caused, allowed, permitted or

contributed to cause the Plaintiff to be in a dangerous situation that would

foreseeably cause her harm.

      17.    The Defendants owed Plaintiff a duty of care to avoid causing her harm.

      18.    Defendants failed to act and/or acted unreasonably/recklessly

allowing/causing the incident made the basis of this suit. Specifically, Defendants
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Miles, Davis and Miller knew or should have known that bringing a dangerous

weapon to a dispute and discharging said weapon would likely result in harm to those

around them.

      19.    As a direct or proximate consequence of the negligence or wantonness

of each of the Defendants, Plaintiff Harris was caused to suffer serious injuries

resulting in her death.

      20.    Plaintiff avers that the negligent or wanton conduct of each of the

Defendants combined and concurred to proximately cause Jamea Jonae Harris’

death, as herein alleged.

      WHEREFORE, PREMISES CONSIDERED, Plaintiff hereby demands of

the Defendants, jointly and severally, punitive damages in an amount in excess of

the jurisdictional requirements of this Court, plus costs.

                               V.      JURY DEMAND

               Plaintiff demands a trial by jury on all issues so triable.

                                    Respectfully submitted this the 20th day of October.




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                                 /s/ Kirby D. Farris
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